     Case 6:21-cv-00016 Document 214 Filed on 03/01/22 in TXSD Page 1 of 5




                      UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                              VICTORIA DIVISION
__________________________________________
                                           )
STATE OF TEXAS, STATE OF                   )
LOUISIANA                                  )
                                           )
                        Plaintiffs,        )
      v.                                   )  No. 6:21-cv-00016
                                          )
UNITED STATES OF AMERICA, et al.          )
                                          )
                        Defendants.       )
__________________________________________)

                     JOINT ADVISORY ON POST-TRIAL SUBMISSIONS

       In response to the Court’s request at the conclusion of trial on February 24, 2022, the Parties

have attached a proposed scheduling order. The Parties propose the following deadlines for post-

trial submissions:

               a. No later than March 18, 2022, the Parties shall separately file Proposed

                     Findings of Fact and Conclusions of Law. In their Proposed Findings of Fact

                     and Conclusions of Law, the Parties shall denote any evidence outside of the

                     administrative record on which they seek to rely for purposes other than

                     standing or remedy. The Parties may file any post-trial motions and memoranda

                     of law no later than this date.

               b. No later than April 1, 2022, the Parties shall file any responses to any post-trial

                     motions and memoranda of law. The Parties shall also file by April 1, 2022, any

                     objections to the use of any evidence outside of the administrative record. This

                     will close any post-trial briefing.




                                                   -1-
    Case 6:21-cv-00016 Document 214 Filed on 03/01/22 in TXSD Page 2 of 5




Date: March 1, 2022                Respectfully submitted.

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                                         -2-
Case 6:21-cv-00016 Document 214 Filed on 03/01/22 in TXSD Page 3 of 5




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                                 -3-
     Case 6:21-cv-00016 Document 214 Filed on 03/01/22 in TXSD Page 4 of 5




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                                               -4-
     Case 6:21-cv-00016 Document 214 Filed on 03/01/22 in TXSD Page 5 of 5




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                                CERTIFICATE OF SERVICE

        I certify that a true and accurate copy of the foregoing document was filed electronically
(via CM/ECF) on March 1, 2022, which automatically serves all counsel of record who are
registered to receive notices in this case.
                                                   /s/ Ryan D. Walters
                                                   RYAN D. WALTERS




                                               -5-
